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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


  JOHANA COLON, et al.,

         Plaintiffs,

  v.                                                        Case No.: 8:22-cv-888-TPB-TGW

  KEVIN G. JOHNSON, et al.,

         Defendants

  ________________________________/

        ORDER ADOPTING REPORT AND RECOMMENDATION AND
       GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT

         This matter is before the Court on consideration of the report and

  recommendation of Thomas G. Wilson, United States Magistrate Judge, entered on

  December 13, 2024. (Doc. 300). Judge Wilson recommends that “Plaintiffs’

  Unopposed Motion for Final Approval of Class Action Settlement” (Doc. 290) and

  “Plaintiffs’ Unopposed Motion for Attorneys’ Fees, Costs & Administrative

  Expenses” (Doc. 283) be granted. On December 17, 2024, the parties filed a joint

  notice of non-objection. (Doc. 301). After review of the report and recommendation,

  the subject motions and the attachments thereto, the Court ADOPTS the report

  and recommendation, GRANTS the motion and ORDERS as follows: 1




  1 All defined terms contained herein shall have the same meaning as set forth in the

  settlement agreement executed by the parties and filed with the Court.


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        1.     The Court has jurisdiction over the subject matter of this action and

  personal jurisdiction over all parties to this action, including all members of the

  settlement class.

        2.     Pursuant to Federal Rule of Civil Procedure 23(b)(1), the Court

  certifies, for settlement purposes only, the following settlement class:

        All Participants who were issued a distribution from the Plan, or their
        Beneficiaries or Alternate Payee, excluding Leigh Anne Fernandes and
        Dale Hersey.

  The Court finds that this settlement class meets all of the requirements of Rule

  23(a)( and 23(b)(1).

        3.      Pursuant to Rules 23(e)(1)(A) and (C), the Court hereby approves of

  the settlement agreement and finds it to be fair, reasonable, and adequate.

        4.     The Court hereby orders that the parties take all necessary steps to

  effectuate the terms of the settlement agreement.

        5.     The Court hereby finds that under Fed. R. Civ. P. 23(c)(2), the

  settlement notice constituted the best notice practicable under the circumstances

  and that due and sufficient notice of the final fairness hearing and the rights of all

  class members has been provided.

        6.     In accordance with the Court’s Orders, and as reflected in the

  information from the Settlement Administrator, Analytics Consulting LLC,

  settlement notices were timely distributed by first-class mail to all class members

  who could be identified with reasonable effort. The Settlement Administrator

  searched for updated address information for those returned as undeliverable, and



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  remailed notices to those class members. In total, none were ultimately returned as

  undeliverable. In addition, pursuant to the Class Action Fairness Act, 29 U.S.C. §

  1711, et seq. (“CAFA”), notice was provided to the Attorneys General for each of the

  states in which a class member resides and the Attorney General of the United

  States.

        7.     The Court finds that the settlement is fair, reasonable, and adequate,

  based on the following findings of fact, conclusions of law, and determinations of

  mixed fact/law questions:

               a. The settlement resulted from arm’s-length negotiations by

                  experienced and competent counsel overseen by a neutral mediator;

               b. The settlement was negotiated only after class counsel had received

                  substantial discovery from Defendants;

               c. The settling parties were well positioned to evaluate the value of

                  the class action;

               d. If the settlement had not been achieved, both Plaintiffs and

                  Defendants faced the expense, risk, and uncertainty of extended

                  litigation;

               e. The amount of the settlement ($19,000,000.00) is fair, reasonable,

                  and adequate. The settlement amount is within the range of

                  reasonable settlements that would have been appropriate in this

                  case, based on the nature of the claims, the potential recovery, the




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                  risks of litigation, and settlements that have been approved in

                  other similar cases;

               f. The class representatives have actively and independently

                  participated in the class action;

               g. The class representatives and class counsel have concluded that the

                  settlement agreement is fair, reasonable and adequate;

               h. Class members had the opportunity to be heard on all issues

                  regarding the settlement and release of claims by submitting

                  objections to the settlement agreement to the Court;

               i. There were no objections to the settlement; and

               j. The settlement was reviewed by an independent fiduciary,

                  Fiduciary Counselors, Inc., who has approved the settlement.

        8.     The motion for final approval of the settlement agreement is hereby

  GRANTED, the settlement is APPROVED as fair, reasonable and adequate to the

  plan and the settlement class.

        9.     This action and all released claims asserted therein whether asserted

  by class representatives on their own behalf or on behalf of the class members, or on

  behalf of the plan, are hereby dismissed with prejudice without costs to any of the

  settling parties other than as provided for in the settlement agreement.

        10.    The plan and each class member (and their respective heirs,

  beneficiaries, executors, administrators, estates, past and present partners, officers,

  directors, agents, attorneys, predecessors, successors, and assigns) shall be: (a)



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  conclusively deemed to have, and by operation of the final approval order shall

  have, fully, finally, and forever settled, released, relinquished, waived, and

  discharged the released parties from all released claims; and (b) barred and

  enjoined from suing the released parties in any action or proceeding alleging any of

  the released claims.

         11.   Each class member shall release the released parties and class counsel

  for any claims, liabilities, and attorneys’ fees and costs arising from the allocation of

  the gross settlement amount or net settlement amount and for all tax liability and

  associated penalties and interest as well as related attorney’s fees and costs.

         12.   The provisions of Sections 3.2.3., 3.2.4 and 3.2.5 of the settlement

  agreement shall apply even if any class member may thereafter discover facts in

  addition to or different from those which the class members or class counsel now

  know or believe to be true with respect to the class action and the released claims,

  whether or not such class members receive a monetary benefit from the settlement,

  whether or not such class members actually received the settlement notice, whether

  or not such class members have filed an objection to the settlement or to any

  application by class counsel for an award of attorney’s fees and costs and

  administrative expenses, and whether or not the objections or claims for

  distribution of such class members have been approved or allowed.

         13.   The Court finds that all applicable CAFA requirements have been

  satisfied.




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        14.    The Court finds that an award of attorneys’ fees to class counsel in the

  amount of $6,333,333.33 (equal to one-third of the gross settlement amount) is

  reasonable. The Court further finds that reimbursement of litigation expenses in

  the amount of $615,148.25 and payment to Analytics Consulting LLC in the amount

  of $12,202 for settlement administration expenses is likewise reasonable.

        15.    The plan of allocation is approved. The Settlement Administrator shall

  have final authority to determine the share of the net settlement amount to be

  allocated to each class member in accordance with the plan of allocation. The

  Settlement Administrator is further authorized to direct the escrow agent to make

  such distributions from the qualified settlement fund as necessary to implement the

  plan of allocation.

        16.    Within thirty-one (31) calendar days following the issuance of all

  settlement payments to class members as provided by the plan of allocation

  approved by the Court, the Settlement Administrator shall prepare and provide to

  class counsel and defense counsel a list of each person who received a settlement

  payment or contribution from the qualified settlement fund and the amount of such

  payment or contribution.

        17.    Section 15(b) of the amended agreed confidentiality order entered in

  the class action (Doc. 241) is modified for the limited purpose of allowing the

  settling parties, class counsel, and defense counsel to retain and use confidential

  information and documents marked “CONFIDENTIAL – SUBJECT TO




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  PROTECTIVE ORDER” in connection with claims that are excluded from the

  definition of “Released Claims” per Section 1.33.7 of the settlement agreement.

        18.    Upon the effective date of this Order under the settlement agreement,

  all settling parties, the settlement class, and the plan shall be bound by the

  settlement agreement and by this Order.

        19.    Following the entry of this Order, the Clerk is directed to terminate

  any pending motions, and thereafter close this case.

        DONE and ORDERED in Chambers, in Tampa, Florida, this 17th day of

  December, 2024.



                                          __________________________________________
                                          TOM BARBER
                                          UNITED STATES DISTRICT JUDGE




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